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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA
                                                    No. 11 CR 479
               v.
                                                    Judge Sharon Johnson Coleman
GLORIA HARPER
ALICE SHERROD
DERRICK EUBANKS
TOMMIE BODDIE, and
BARRETT WHITE

                      PROTECTIVE ORDER GOVERNING DISCOVERY

       Upon the motion of the government, pursuant to Fed. R. Crim. P. 16(d), it is hereby

ORDERED:

       1.      All of the materials provided by the United States in preparation for, or in

connection with, any stage of the proceedings in this case (collectively, "the materials") are

subject to this protective order and may be used by defendants and defendants’ counsel (defined

as counsel of record in this case) solely in connection with the defense of this case, and for no

other purpose, and in connection with no other proceeding, without further order of this Court.

       2.      Defendants and defendants’ counsel shall not disclose the materials or their

contents directly or indirectly to any person or entity other than persons employed to assist in the

defense, persons who are interviewed as potential witnesses, counsel for potential witnesses, and

other persons to whom the Court may authorize disclosure (collectively, “authorized persons”).

Potential witnesses and their counsel may be shown copies of the materials as necessary to

prepare the defense, but may not retain copies without prior permission of the Court.

       3.      Any materials containing taxpayer information obtained from the Internal

Revenue Service shall be plainly marked as such by the government prior to disclosure. No such
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materials, or the information contained therein, may be disclosed to any persons other than

defendants, defendants’ counsel, persons employed to assist the defense, or the taxpayer on

whose behalf such information was provided to the Internal Revenue Service, without prior

notice to the government and authorization from the Court. Absent prior permission from the

Court, taxpayer information obtained from the Internal Revenue Service shall not be included in

any public filing with the Court, and instead shall be submitted under seal (this Order does not,

however, prohibit a defendant from making a public filing containing the defendant's own

taxpayer information).

       4.      Defendants, defendants’ counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the materials for use in connection

with this case by defendants, defendants’ counsel, and authorized persons. Such copies and

reproductions shall be treated in the same manner as the original materials.

       5.      Defendants, defendants’ counsel, and authorized persons shall not disclose any

notes or records of any kind that they make in relation to the contents of the materials, other than

to authorized persons, and all such notes or records are to be treated in the same manner as the

original materials.

       6.      Before providing materials to an authorized person, defense counsel must provide

the authorized person with a copy of this Order and require the authorized person to sign a

statement acknowledging that the authorized person has received a copy of and reviewed this

Order, and has agreed to be bound by its terms and conditions subject to sanctioning by the

Court for any violations of this Order. Defense counsel shall maintain a copy of the signed

statement of each authorized person for a period of twelve months after the conclusion of all


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stages of this case, and shall provide copies of the signed statement of each authorized person to

the government upon request.

       7.      Upon conclusion of all stages of this case, all of the materials and all copies made

thereof shall be destroyed or returned to the United States, unless otherwise ordered by the

Court. The Court may require a certification as to the disposition of any such materials.

       8.      To the extent any material is produced by the United States to defendants or

defendants’ counsel by mistake, the United States shall have the right to request the return of the

material and shall do so in writing. Within five days of the receipt of such a request, defendants

and/or defendants’ counsel shall return all such material if in hard copy, and in the case of

electronic materials, shall certify in writing that all copies of the specified material have been

deleted from any location in which the material was stored.

       9.      The restrictions set forth in this Order do not apply to documents that are or

become part of the public court record, including documents that have been received in evidence

at other trials, nor do the restrictions in this Order limit defense counsel in the use of discovery

materials in judicial proceedings in this case, except that any document filed by any party which

attaches or otherwise discloses the contents of taxpayer information obtained from the Internal

Revenue Service (other than taxpayer information relating solely to the defendant filing the

document in question), shall be filed under seal to the extent necessary to protect such

information, absent prior permission from this Court.




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       10.     Nothing contained in this Order shall preclude any party from applying to this

Court for further relief or for modification of any provision hereof.

                                              ENTER:

                                              _______________________________
                                              SHARON JOHNSON COLEMAN
                                              District Judge
                                              United States District Court
                                              Northern District of Illinois
       April 18, 2012
Date: ___________________




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